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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

In re:                                            )   Chapter 11
                                                  )
USA GYMNASTICS,                                   )   Case No. 18-09108-RLM-11
                                                  )
         Debtor.                                  )


                   DECLARATION OF THE HONORABLE JAMES M. CARR

         The Honorable James M. Carr, pursuant to 28 U.S.C. § 1746, states as follows:

         1.        I am over 18 years of age and am competent to make this Declaration.

         2.     This Declaration is made pursuant to S.D. Ind. B-9019-2(e)(3).

         3.     On September 2, 2020, the Court entered an order designating me to mediate a

dispute between the parties identified in the caption above.

         4.     I have no connection with the parties or counsel involved with the controversy

which in any way could affect my neutrality or impartiality:

         5.     I know of no reason that would or could (a) affect my neutrality or impartiality as

a mediator, or (b) result in my disqualification pursuant to the Bankruptcy Rules for the Southern

District of Indiana.
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       6.      As a sitting judge, I will receive no compensation for the services I render as a

mediator in this matter

       I affirm, under the penalties for perjury, that the foregoing representations are true.




Executed on November 30, 2020




                                CERTIFICATE OF SERVICE

        I hereby certify that, on the 301h day of November, 2020, a copy of the foregoing
Declaration of The Honorable James M Carr was filed electronically. Notice of this filing will
be sent to registered parties through the Court's Electronic Case Filing system. Parties may
access this filing through the Court's system.




                                                      ~
                                                      Law Clerk to The Honorable James M. Carr
